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                               9
                                    Attorneys for Defendant
                               10   JASON CORBETT

                               11

                               12
                                                                 IN THE UNITED STATES DISTRICT COURT
B ARTH D ALY LLP




                               13
            Attorneys At Law




                                                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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                               15
                                    UNITED STATES OF AMERICA,                            )   Case No. 19-CR-0107-KJM
                               16                                                        )
                                                    Plaintiff,                           )   NOTICE OF MOTION
                               17                                                        )
                                           v.                                            )
                               18                                                        )   Date: December 12, 2022
                                    JASON CORBETT,                                           Time: 9:00am
                                                                                         )
                               19
                                                                                         )   Judge: Honorable Allison Claire
                                                    Defendant.
                               20                                                        )

                               21
                                           PLEASE TAKE NOTICE that defendant Jason Corbett notices a Motion to Compel
                               22
                                    Production of Discovery on December 12, 2022 at 9:00am before the Honorable Allison Claire,
                               23

                               24   Magistrate Judge.

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                               28   //

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                                    Notice of Motion                                    1                                    19-CR-0107-KJM-AC
                                         Case 2:19-cr-00107-KJM Document 1300 Filed 10/12/22 Page 2 of 2


                               1    Dated: October 12, 2022                Respectfully submitted,

                               2

                               3                                           By      /s/ Kresta Nora Daly
                                                                                   KRESTA NORA DALY
                               4                                                   RICHARD G. NOVAK
                                                                                   Attorneys for Jason Corbett
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B ARTH D ALY LLP




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            Attorneys At Law




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                                    Notice of Motion                                    1                                    19-CR-0107-KJM-AC
